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                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

Brianna Boe, et al.,                            )
                                                )
       Plaintiffs,                              )
                                                )
and                                             )
                                                )
United States of America,                       )
                                                )
       Plaintiff-Intervenor,                    )
                                                )
v.                                              ) No. 2:22-cv-00184-LCB-CWB
                                                )
Hon. Steve Marshall, in his official            )
capacity as Attorney General of the             )
State of Alabama, et al.,                       )
                                                )
       Defendants.                              )


    PRIVATE PLAINTIFFS’ NOTICE OF EVIDENTIARY SUBMISSION IN
     SUPPORT OF ITS RESPONSE IN OPPOSITION TO DEFENDANTS’
                MOTION FOR SUMMARY JUDGMENT

       Private Plaintiffs1 submit the following exhibits in support of their Response

in Opposition to Defendants’ Motion for Summary Judgment. As noted in Private

Plaintiffs’ Motion for Leave to File Under Seal Unredacted Response in Opposition




1
 Private Plaintiffs refers to Plaintiffs Brianna Boe, individually and on behalf of her minor son,
Michael Boe; Megan Poe, individually and on behalf of her minor daughter, Allison Poe; Rebecca
Roe, individually and on behalf of her minor daughter, Melissa Roe; Robert Moe, individually and
on behalf of his minor daughter, April Moe; and Heather Austin, Ph.D.


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to Defendants’ Motion for Summary Judgment, Private Plaintiffs are filing some of

these documents to the Court under seal.


                             Document                                  Exhibit
Deposition of    Hawes                                                   1
(Submitted Under Seal)

Deposition of        Cohn                                                 2
(Submitted Under Seal)

Deposition of      Davis                                                  3
(Submitted Under Seal)

Plaintiff-Intervenor United States’ Disclosure of Expert Testimony        4
of Daniel Shumer, MD, MPH

Plaintiff-Intervenor United States’ Disclosure of Rebuttal Expert         5
Testimony of Daniel Shumer, MD, MPH
(Submitted Under Seal)

Plaintiff-Intervenor United States’ Disclosure of Rebuttal Expert         6
Testimony of Armand H. Matheny Antommaria, MD, PhD, FAAP,
HEC-C

Affidavit of Meredithe McNamara, MD, MSc, in Support of                   7
Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment

Testimony of Dr. James Cantor in Transcript of Preliminary                8
Injunction Hearing, Volume II (ECF No. 105)

Brief of Amici Curiae American Academy of Pediatrics et al. in            9
Support of Plaintiffs’ Motion for Preliminary Injunction, Doe v.
Surgeon Gen., St. of Fla., No. 23-12159 (11th Cir. Oct. 13, 2023)

Brief of Amici Curiae American Academy of Pediatrics et al. in           10
Support of Plaintiffs-Appellees and Affirmance, Eknes-Tucker v.
Governor, 80 F.4th 1205 (11th Cir. 2023) (No. 22-11707)


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Transgender Health: Supporting Gender Diverse Youth to Improve           11
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Plaintiffs’ Preliminary Injunction Exhibit 25, ECF No. 78-25

NAPNAP Strongly Opposes Alabama Law Criminalizing                        12
Transgender Health Care (National Association of Pediatric Nurse
Practitioners), Plaintiffs’ Preliminary Injunction Exhibit 28, ECF No.
78-28

American Academy of Pediatrics Speaks Out Against Bills Harming          13
Transgender Youth, Plaintiffs’ Preliminary Injunction Exhibit 22,
ECF No. 78-22

American Academy of Pediatrics and Its Alabama Chapter Oppose            14
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American Academy of Pediatrics Ensuring Comprehensive Care and           15
Support for Transgender and Gender-Diverse Children and
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American Psychological Association Position Statement on                 16
Treatment of Transgender (Trans) and Gender Diverse Youth,
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Frontline Physicians Oppose Legislation that Interferes in or            17
Criminalizes Patient Care (American Psychiatric Association),
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Medical Treatment for Transgender Children and Adolescents Rely
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Supplemental Expert Report of Meredithe McNamara, MD, MSc                19




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Declaration of Eli Coleman, PhD, in Support of Plaintiffs’                20
Opposition to Defendants’ Motion for Summary Judgment
Deposition of Farr Curlin, M.D.                                           21
Deposition of Geeta Nangia, M.D.                                          22
(Submitted Under Seal)
Deposition of Michael Laidlaw, M.D.                                       23
(Submitted Under Seal)


 Respectfully submitted,



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                                     v
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 1st day of July, 2024, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to counsel of record in this case.



                                               /s/ Amie A. Vague
                                               Counsel for Private Plaintiffs




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